      Case 8-17-71200-ast            Doc 101       Filed 03/16/18   Entered 03/19/18 11:04:27




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:
                                                                    Case No. 17-71200-AST
 TANJU NUREL
 dba Nurel Farmers Market,                                          Chapter 11

                                    Debtor.
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                            ORDER DISMISSING CHAPTER 11 CASE

        Upon the motion (the “Motion”) of Tanju Nurel (the “Debtor”), the above-referenced

debtor and debtor-in-possession, by and through his counsel, Macco & Stern, LLP, for an order

dismissing the Debtor’s chapter 11 case and the affidavit of service of the Motion, on file with the

Court; and additional service being neither necessary nor required; and the 226 East Montauk

Highway Corp. (the “Landlord”) having filed an objection (the “Objection”) to the Motion; and a

hearing on the Motion and Objection having been held before the Court on February 21, 2018 (the

“Hearing”); and the Debtor and Landlord having appeared at the Hearing; and the Debtor having

submitted an affidavit of Cooper J Macco, Esq., in further support of the Motion; and good and

sufficient cause appearing; and it being in the best interests of the Debtor’s creditors; it is hereby

        ORDERED, that the Debtor’s Chapter 11 Case is dismissed; and it is further

        ORDERED, that Clerk of the Court shall close the Debtor’s above-referenced Chapter 11

Case; and it is further
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       ORDERED, that the Debtor, its landlord or their agents, assigns, or successor in interest, may take

any and all action under applicable law to exercise its remedies in accordance with this Order.

NO OBJECTION:

s/ Alfred M. Dimino
Office of the United States Trustee


       ORDERED, that the above-captioned case is dismissed pursuant to

11 U.S.C. § 109(g)(2) for a period of 180 days from the entry of this Order.




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 Dated: March 16, 2018                                                 Alan S. Trust
        Central Islip, New York                               United States Bankruptcy Judge
